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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION


UNITED STATES OF AMERICA

         vs.                        4:04CR00169-01-WRW

DEREK ISAAC ALLMON, SR.


                                            ORDER

         On March 10, 2006, Mr. Ralph Cloar, counsel for defendant, Derek Allmon, filed a Motion

to be Relieved as Counsel. A hearing was held on this matter on Friday, March 10, 2006. At

the conclusion of the March 10, 2006, hearing, I appointed Mr. Dale West to represent Mr.

Allmon and ordered Mr Cloar to remain on the case until Mr. West, “has his sea legs”. The first

week of this trial has now concluded and Mr. West is able to represent Mr. Allmon on his own.

Therefore, the Motion to be Relieved as Counsel (doc #548) filed by Mr. Cloar is GRANTED.

         IT IS ORDERED this 24th day of March, 2006.




                                                   /s/ Wm. R.Wilson,Jr.
                                             UNITED STATES DISTRICT JUDGE




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